                                EXHIBIT H
                              [Proposed Order]




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                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NEW YORK


 In re:                                                    Chapter 11

 THE DIOCESE OF BUFFALO, N.Y.,                             Case No. 20-10322 (CLB)

                    Debtor.




               ORDER GRANTING THIRD INTERIM FEE APPLICATION
                  OF PACHULSKI STANG ZIEHL & JONES LLP FOR
                 COMPENSATION FOR SERVICES RENDERED AND
             REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL TO
           THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF THE
          DEBTOR FOR THE PERIOD JUNE 1, 2021 THROUGH JANUARY 31, 2022

                 This matter is before the Court on the Third Interim Fee Application of Pachulski

Stang Ziehl & Jones LLP for Compensation for Services Rendered and Reimbursement of

Expenses Incurred as Counsel to the Official Committee of Unsecured Creditors of the Debtor

for the Period June 1, 2021 through January 31, 2022 (the “Third Compensation Period” and the

“Application”) [Doc ____], filed by Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel to the

Committee. In the Application, PSZJ requests (a) allowance of interim compensation for

professional services performed by PSZJ for the Third Compensation Period in the amount of

$456,591.00 (b) reimbursement of its actual and necessary expenses in the amount of $6,563.65

incurred during the Third Compensation Period, and (c) directing the Debtor to pay PSZJ the

amount of $463,154.65 for the unpaid total.

                 The Court, having considered the Application and notice of the Application

appearing adequate, and having convened a hearing on June 1, 2022 and being otherwise duly




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advised in the premises, determines that the Application should be, and hereby is GRANTED.

Accordingly,

                 IT IS THEREFORE ORDERED as follows:

        1.       The Application is GRANTED in its entirety.

        2.       PSZJ’s compensation for professional services rendered during the Third

Compensation Period is allowed on an interim basis in the amount of $456,591.00.

        3.       Reimbursement of PSZJ’s expenses incurred during the Third Compensation

Period is allowed on an interim basis in the amount of $6,563.65.

        4.       The Debtor is directed to pay PSZJ the amount of $463,154.65 for the unpaid

amounts incurred during the Third Compensation Period.

        5.       The compensation and reimbursement of expenses awarded in this Order shall be

interim and subject to final approval pursuant to section 330(a)(5) of the Bankruptcy Code.

        6.       The allowance of interim compensation and reimbursement of expenses pursuant

to this Order is without prejudice to PSZJ’s right to seek additional compensation for services

performed and expenses incurred during the Third Compensation Period, which were not

processed at the time of the Application.

        7.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.


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